Case 3:09-cv-00298-N Document 1353 Filed 05/20/11 Page lof28 PagelD 30157

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff
V.

STANFORD INTERNATIONAL BANK, LTD.,
STANFORD GROUP COMPANY,

STANFORD CAPITAL MANAGEMENT, LLC,

R. ALLEN STANFORD, JAMES M. DAVIS,
LAURA PENDERGEST-HOLT, GILBERTO LOPEZ,
MARK KUHRT AND LEROY KING,

Defendants,
and

STANFORD FINANCIAL GROUP COMPANY and
THE STANFORD FINANCIAL GROUP BLDG INC.,

Relief Defendants.

CASE NO, 3:09-cv-0298-N

SUPPLEMENTAL APPENDIX IN SUPPORT OF BDO USA, LLP’S REPLY TO THE
RECEIVER’S AND THE OFFICIAL STANFORD INVESTORS COMMITTEE’S JOINT
RESPONSE TO BDO USA, LLP’S MOTION TO QUASH SUBPOENA OR,

IN THE ALTERNATIVE, MOTION TO MODIFY SUBPOENA

Respectfully submitted,

/s/ Robert W. Kantner
Robert W. Kantner

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ATTORNEY FOR BDO USA LLP

SUPPLEMENTAL APPENDIX IN SUPPORT OF BDO USA, LLP’S REPLY TO THE
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RESPONSE TO BDO USA, LLP’S MOTION TO QUASH SUBPOENA OR,

IN THE ALTERNATIVE, MOTION TO MODIFY SUBPOENA

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Page 1
Case 3:09-cv-00298-N Document 1353 Filed 05/20/11 Page 2of28 PagelD 30158

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 20th day of May, 2011, a copy of the
foregoing Appendix was served as follows:

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Attorney for the Official Stanford Investors Committee

/s/ Robert W. Kantner
Robert W. Kantner

SUPPLEMENTAL APPENDIX IN SUPPORT OF BDO USA, LLP’S REPLY TO THE

RECEIVER’S AND THE OFFICIAL STANFORD INVESTORS COMMITTEE’S JOINT

RESPONSE TO BDO USA, LLP’S MOTION TO QUASH SUBPOENA OR,

IN THE ALTERNATIVE, MOTION TO MODIFY SUBPOENA Page 2

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Case 3:09-cv-00298-N Document 1353 Filed 05/20/11 Page 3of28 PagelD 30159

INDEX
1. Declaration of Lisa A. MOmvis.........ssccsssssessssossssestsecssesssecsssssesesssseeanseeseensearesesnennsagtaseenies 1
2. Original Complaint filed in The Official Stanford Investors Committee v.
Cort & Cort and Cort & Associates, Case No. 3:11-cv-00298-N (N.D. TeX.) .......sccsscen 3

SUPPLEMENTAL APPENDIX IN SUPPORT OF BDO USA, LLP’S REPLY TO THE

RECEIVER’S AND THE OFFICIAL STANFORD INVESTORS COMMITTEE’S JOINT

RESPONSE TO BDO USA, LLP’S MOTION TO QUASH SUBPOENA OR,

IN THE ALTERNATIVE, MOTION TO MODIFY SUBPOENA Page 3
EAST\44855249.1
Case 3:09-cv-00298-N Document 1353 Filed 05/20/11 Page 4of28 PagelD 30160

BPO SUPPLEMENTAL APPENDIX —
ITEM 1
Case 3:09-cv-00298-N Document 1353 Filed 05/20/11 Page5of28 PagelD 30161 I

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff
Vv,

STANFORD INTERNATIONAL BANK, LTD.,
STANFORD GROUP COMPANY,

STANFORD CAPITAL MANAGEMENT, LLC,

R. ALLEN STANFORD, JAMES M. DAVIS,
LAURA PENDERGEST-HOLT, GILBERTO LOPEZ,
MARK KUHRT AND LEROY KING,

CASE NO. 3:09-cv-0298-N

Defendants,

and

STANFORD FINANCIAL GROUP COMPANY and
THE STANFORD FINANCIAL GROUP BLDG INC.,

Relief Defendants.

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SUPPLEMENTAL DECLARATION OF LISA A, MORRIS

I, Lisa A. Morris, hereby declare and state under penalty of perjury as follows:

1, I am over 18 years of age and am competent to testify as to the matters stated
herein. I make the following statements based upon my personal knowledge unless expressly
stated otherwise.

2. I provide this Declaration to supplement the Declaration I signed on April 14,
2011 in support of BDO USA, LLP’s Motion to Quash Subpoena or, in the Alternative to

Modify Subpoena.

SUPPLEMENTAL DECLARATION OF LISA A, MORRIS Page |
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Case 3:09-cv-00298-N Document 1353 Filed 05/20/11 Page 6of28 PagelD 30162 2.

3. As I stated previously, I am a Senior Paralegal for BDO USA, LLP (“BDO”).
Among other things, I work on litigation matters for BDO. In particular, I work on document
holds and productions by BDO in litigation matters.

4. In my previous Declaration, I stated that BDO has put a document hold in place
regarding Stanford matters. I hereby supplement that statement by stating that this hold was put
in place very shortly after BDO learned of this case.

5. In my previous declaration, | stated that BDO, a Delaware limited liability
partnership, is the U.S. member of BDO International Limited, a UK company and that BDO
does not have possession, custody or control of documents of BDO International Limited. [|
hereby supplement that statement by stating that BDO is independent of and does not have
possession, custody or control of documents of other members of BDO International Limited.

6. Finally, BDO’s available work papers for audits of financial statements of
Stanford Group Company, Stanford Capital Management LLC and their holding company,
Stanford Group Holdings, Inc. (“SGH”) and other Stanford Companies owned, directly or
indirectly by SGH, do not contain any work product of or communications with counsel. With
the possible exception of e-mail between BDO auditors and in-house attorneys, which are not
part of the work papers, I am not aware of any privileged documents relating to said audits that
predate BDO’s retention of DLA Piper LLP (US) to advise BDO with regard to Stanford matters.

7. I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.

Executed on this 20th day of May 2011.

/s/ Lisa A. Morris
Lisa A. Morris

SUPPLEMENTAL DECLARATION OF LISA A. MORRIS Page 2
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Case 3:09-cv-00298-N Document 1353 Filed 05/20/11 Page 7of28 PagelD 30163

BPO SUPPLEMENTAL APPENDIX —
ITEM 2
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

 

DALLAS DIVISION
THE OFFICIAL STANFORD INVESTORS §
COMMITTEE, §
§
Plaintiff, §
§
v. § Case No.
§
CORT & CORT and §
CORT & ASSOCIATES, §
§
Defendants. §
§
ORIGINAL COMPLAINT AGAINST
CORT & CORT AND
CORT & ASSOCIATES
SUMMARY

1. Revenue from the sale of fraudulent certificates of deposit (“CD Proceeds”
generated substantially all of the income for the Stanford Defendants and the many related
Stanford Entities (collectively, the “Stanford Parties”) that were part of a massive Ponzi scheme.

2. The Official Stanford Investors Committee (the “Committee) has identified
payments of CD Proceeds totaling at least $1,113,553.53 from the Stanford Defendants to Cort
& Cort and Cort & Associates (collectively, the “Cort Defendants”).

3. Through this lawsuit, the Committee! seeks the return of the CD Proceeds received
directly or indirectly by the Cort Defendants in order to return the funds to the Receivership

Estate and to make an equitable distribution to claimants. The Committee’s investigation is

 

' The Court-appointed Receiver, Ralph S. Janvey, has assigned ali of the Receivership’s claims against the
Cort Defendants to the Official Stanford Investors Committee. The Committee's claims in this Complaint are
related to claims on file in Case No. 03:09-CV-0724-N before this Court. Pursuant to Local Rule 3.3(a), the
Committee has filed a notice of related case concurrently with this Complaint,

ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CORT & ASSOCIATES

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continuing, and should more payments of CD Proceeds to the Cort Defendants be discovered, the
Committee will amend this C omplaint to assert claims regarding such additional payments.

4, The Cort Defendants either performed no services for the CD Proceeds they
received: performed services that did not constitute reasonably equivalent value in exchange for
the CD Proceeds they received; or performed only services that were in furtherance of the Ponzi
scheme, which cannot be reasonably equivalent value as a matter of law. The Cort Defendants,
further, cannot establish that they are good-faith transferees.

5. Upon information and belief, at various times during the period in question, while
the Cort Defendants received over $1 million of stolen CD Proceeds, Dr. Errol Cort
(“Cort”)acted as both an attorney with the Cort Defendants and served as a senior official in the
government of Antigua and Barbuda, which purportedly was “regulating” Stanford’s operations.
Upon information and belief, from March 2004 until March 2009, Cort served as Antigua’s
Finance Minister and had direct oversight of the government’s offshore banking regulator, the:
Financial Services Regulatory Commission (“FSRC”). Antigua’s “regulation” of the Stanford
entities was a sham. In fact, FSRC Chairman Leroy King has been indicted by the U.S.
Department of Justice and is currently awaiting extradition to the US.

6. Cort has also served as the Chairman of the Eastern Caribbean Bank’s Monetary
Counsel, which approved the takeover of the Stanford-owned Bank of Antigua, and the
subsequent distribution of ownership shares to the government of Antigua and Barbuda and 5
ECCB member banks—with no compensation to Stanford investors. Ironically, it was Cort who
made public statements reassuring the region of the financial stability of the Bank of Antigua in

the days following the SEC’s lawsuit against Stanford in February 2009. Cort continues to serve

ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CORT & ASSOCIATES

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as an elected official in the Antiguan and Barbudan government and as the Minister of National
Security.

7. With the exception of the Bank of Antigua, at all times relevant to this complaint,
the Stanford Parties were insolvent, and defendant R, Allen Stanford operated the Stanford
entities in furtherance of his fraudulent scheme. Each payment of CD Proceeds from the
Stanford Parties to the Cort Defendants was made with actual intent to hinder, delay, and defraud
the Stanford Parties’ creditors.

8. The Committee was only able to discover the fraudulent nature of the
above-referenced transfers after R. Allen Stanford and his accomplices were removed from
control of the Stanford entities and after reviewing documents relating to the Stanford Entities.

9. The Committee seeks an order that: (2) CD Proceeds received directly or
indirectly by the Cort Defendants were fraudulent transfers under applicable law or, in the
alternative, unjustly enriched the Cort Defendants; (6) CD Proceeds received directly or
indirectly by the Cort Defendants are property of the Receivership Estate held pursuant to a
constructive trust for the benefit of the Receivership Estate; (c) the Cort Defendants are liable to
the Committee for an amount equaling the amount of CD Proceeds they directly or indirectly
received; and (d) awards attorneys’ fees, costs, and interest to the Committee.

JURISDICTION & VENUE

10. This Court has jurisdiction over this action, and venue is proper, under Section
22(a) of the Securities Act (15 U.S.C. § 77v(a)), Section 27 of the Exchange Act (15 U.S.C.
§ 78aa), and under Chapter 49 of Title 28, Judiciary and Judicial Procedure (28 U.S.C. § 754).

11. Within 10 days of the entry of the Order and Amended Orders Appointing

Receiver, the Court-appointed Receiver filed the original SEC Complaint and the Order

ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CORT & ASSOCIATES 3
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Appointing Receiver in the United States District Court for the districts in Texas and in the
United States District Court for the Western District of Tennessee, pursuant to 28 U.S.C. § 754,
giving this Court i# rem and in personam jurisdiction in those districts and every other district
where the Complaint and Order have been filed.

12. This Court has personal jurisdiction over the Cort Defendants pursuant to FED. R.
Civ. P. 4(k)(1)(C) and 15 U.S.C. §§ 754 and 1692.

13. Further, this Court has personal jurisdiction over Cort & Cort and Cort &
Associates because they regularly conduct business in Texas and/or have engaged in continuous
and systematic activities within Texas.

THE PARTIES

14. _ Plaintiff Official Stanford Investors Committee was formed by this Court on
August 10, 2010. See Case No. 3:09-CV-0298-N, Doc. 1149 (the “Committee Order).” As
stated in the terms of the Committee Order, the Committee, through this Complaint, is
prosecuting this action against the Cort Defendants for the benefit of the Receivership Estate and
the Stanford Investors.

15. Defendant Cort & Cort’s principal place of business is in Antigua. It also has
continuous and systematic contacts with Texas. Cort & Cort will be served pursuant to the
Federal Rules of Civil Procedure, other rules for serving foreign entities, or by other means
approved by the Court.

16, Defendant Cort & Associates’ principal place of business is in Antigua. It also
has continuous and systematic contacts with Texas. Cort & Associates will be served pursuant to
the Federal Rules of Civil Procedure, other rules for serving foreign entities, or by other means

approved by the Court.

ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CORT & ASSOCIATES
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STATEMENT OF FACTS
17. On February 16, 2009, the Securities and Exchange Commission commenced a
lawsuit in this Court against R. Allen Stanford, two associates, James M. “Jim” Davis and Laura
Pendergest-Holt, and three of Mr. Stanford’s companies, Stanford Intemational Bank, Ltd.
(“SIB,” “SIBL,” or “the Bank”), Stanford Group Company, and Stanford Capital Management,
LLC (collectively the “Stanford Defendants”).

i Stanford Defendants Operated a Ponzi Scheme.

18. As alleged by the SEC, the Stanford Defendants marketed fraudulent STB CDs to
investors through SGC financial advisors pursuant to a Regulation D private placement. SEC’s
Second Amended Complaint (Doc. 952), § 27.2 The CDs were sold by Stanford International
Bank, Ltd. Id.

19. | The Stanford Defendants orchestrated and operated a wide-ranging Ponzi scheme.
Stanford Defendant James M. Davis has admitted that the Stanford fraud was a Ponzi scheme
from the beginning. Doc. 771 (Davis Plea Agreement) at J 17(n) (Stanford, Davis, and other
conspirators created a “massive Ponzi scheme”); Doc. 807 (Davis Tr. of Rearraignment) at
16:16-17, 21:6-8, 21:15-17 (admitting the Stanford Ponzi fraud was a “massive Ponzi scheme ab
initio”). In fact, this Court recently found that the Stanford fraud was indeed a Ponzi scheme.
See Case No. 3:09-CV-0724-N, Doc. 456 at 2 (“The Stanford scheme operated as a classic Ponzi
scheme, paying dividends to early investors with funds brought in from later investors.”), at 11
(“[T]he Receiver presents ample evidence that the Stanford scheme . . . was a Ponzi scheme.”),

and at 13 (“The Court finds that the Stanford enterprise operated as a Ponzi scheme . . . .”).

 

2 Unless otherwise stated, citations to Court records herein are from the case styled SEC v. Stanford Int'l
Bank, Ltd., et al,, Civil Action No. 3-09-CV-0298-N,

ORIGINAL COMPLAINT AGAINST
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20. In an opinion filed on December 15, 2010, the Fifth Circuit upheld this Court’s
findings that the Stanford fraud was-a Ponzi scheme. See Janvey v. Alguire, No. 10-10617, 2010
WL 5095506, at *1, *17 (Sth Cir. Dec. 15, 2010) (upholding this Court’s Order). In particular,
the Fifth Circuit made several rulings on the nature of the Stanford fraud, as follows:

We find that the district court did not err in finding that the
Stanford enterprise operated as a Ponzi scheme.

* * *

The Davis Plea and the Van Tassel Declarations provide sufficient
evidence to support a conclusion that there is a substantial
likelihood of success on the merits that the Stanford enterprise
operated as a Ponzi scheme. . . . The Davis Plea, when read as a
whole, provides sufficient evidence for the district court to assume
that the Stanford enterprise constituted a Ponzi scheme ab initio.

* x *

The Receiver carried his burden of proving that he is likely to
succeed in his prima facie case by providing sufficient evidence
that a Ponzi scheme existed... .

* * a
Here, the Receiver provided evidence of a massive Ponzi
scheme... The record supports the fact that Stanford, when it
entered receivership, was grossly undercapitalized.
Id. at *9-13.

21. In marketing, selling, and issuing CDs to investors, the Stanford Defendants
repeatedly touted the CDs’ safety and security and SIB’s consistent, double-digit returns on its
investment portfolio. SEC’s Second Amended Complaint (Doc. 952), {] 32-33.

22. In its brochure, SIB told investors, under the heading “Depositer Security,” that
its investment philosophy is “anchored in time-proven conservative criteria, promoting stability
in [the Bank’s] certificate of deposit.” SIB also emphasized that its “prudent approach and

methodology translate into deposit security for our customers.” Jd. 434. Further, SIB stressed

ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CorT & ASSOCIATES
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the importance of investing in “marketable” securities, saying that “maintaining the highest
degree of liquidity” was a “protective factor for our depositors.” Jd.

23. In its 2006 and 2007 Annual Reports, SIB told investors that the Bank’s assets
were invested in a “well-balanced global portfolio of marketable financial instruments, namely
U.S. and international securities and fiduciary placements.” /d. 35. More specifically, SIB
represented that its 2007 portfolio allocation was 58.6% equity, 18.6% fixed income, 7.2%
precious metals and 15.6% alternative investments. /d.

24. Consistent with its Annual Reports and brochures, SIB trained SGC financial
advisors, in February 2008, that “liquidity/marketability of SIB’s invested assets” was the “most
important factor to provide security to SIB clients.” /d. 36. In training materials, the Stanford
Defendants also claimed that SIB had eared consistently high returns on its investment of
deposits (ranging from 11.5% in 2005 to 16.5% in 1993). fd. 7 49.

25. Contrary to the Stanford Defendants’ representations regarding the liquidity of
SIB’s portfolio, SIB did not invest in a “well-diversified portfolio of highly marketable
securities.” Instead, significant portions of the Bank’s portfolio were misappropriated by the
Stanford Defendants and were either placed in speculative investments (many of them illiquid,
such as private equity deals), diverted to other Stanford Entities “on behalf of shareholder” — i.e.,
for the benefit of Allen Stanford, or used to finance Allen Stanford’s lavish lifestyle (e.g., jet
planes, a yacht, other pleasure craft, luxury cars, homes, travel, company credit cards, etc.). In
fact, at year-end 2008, the largest segments of the Bank’s portfolio were private equity;
over-valued real estate; and at least $1.6 billion in undocumented “loans” to Defendant R. Allen

Stanford. See id. {J 39-40.

ORIGINAL COMPLAINT AGAINST
Coat & CORT AND Cort & ASSOCIATES

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26. In an effort to conceal their fraud and ensure that investors continued to purchase
the CDs, the Stanford Defendants fabricated the performance of SIB’s investment portfolio. Jd.
4 4.

27. SIB’s financial statements, including its investment income, were fictional. /d.
{4 4, 53. In calculating SIB’s investment income, Stanford Defendants R. Allen Stanford and
James Davis provided to SIB’s internal accountants a pre-determined retum on investment for
the Bank’s portfolio. /d. Using this pre-determined number, SIB’s accountants
reverse-engineered the Bank’s financial statements to reflect investment income that SIB did not
actually earn. Jd.

28. Fora time, the Stanford Defendants were able to keep the fraud going by using
funds from current sales of SIB CDs to make interest and redemption payments on pre-existing
CDs. See id. § 1. However, in late 2008 and early 2009, CD redemptions increased to the point
that new. CD sales were inadequate to cover redemptions and normal operating expenses. As the
depletion of liquid assets accelerated, this fraudulent Ponzi scheme collapsed.

29. Most of the above facts discovered from Stanford’s records have since been
confirmed by Stanford’s Chief Financial Officer, James Davis, who has pleaded guilty to his role
in running the Stanford Ponzi scheme.

it, The Stanford Parties Transferred CD Proceeds from the Ponzi Scheme to the Cort
Defendants.

30. CD Proceeds from the Ponzi scheme described above were transferred by or at the
direction of the Stanford Parties to the Cort Defendants. The Cort Defendants did not provide
reasonably equivalent value for the transfers of CD Proceeds to them and cannot establish that

they are good-faith transferees.

ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CORT & ASSOCIATES 8
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31. The Committee has identified payments of CD Proceeds totaling at least
$1,113,553.53 from the Stanford Parties to the Cort Defendants.

32. The transfers of CD Proceeds to the Cort Defendants from the Stanford Parties
consisted of at least the following: $227,746.00 in 2006; $305,828.77 in 2007; $529,978.76 in
2008; anid $50,000.00 in 2009. See App. at 1 (listing the dates and amounts of payments to the
Cort Defendants from the Stanford Parties). The Committee’s investigation is continuing, and
should more payments of CD Proceeds to the Cort Defendants be discovered, the Committee will
amend this Complaint to assert claims regarding such additional payments.

REQUESTED RELIEF

33. The Court appointed the Committee to represent Stanford investors in the case
SEC v. Stanford International Bank, Lid. et al, Case No. 3:09-CV-0298-N and in related
matters. Committee Order (Doc, 1149) at | 2. The Committce Order, signed by the Court on
August 10, 2010, states that “[t]he Committee shall have rights and responsibilities similar to
those of a committee appointed to serve in a bankruptcy case under title 11 of the United States
Code” and that the Committee may bring actions for the bencfit of the Receivership Estate and
the Stanford Investors. See Committee Order (Doc. 1149) at [| 2, 7-8. The Committee seeks the
relief described herein in this capacity.

COUNTI: The Committee is Entitled to Disgorgement of CD Proceeds
Fraudulently Transferred to the Cort Defendants.

34. The Committee is entitled to disgorgement of the CD Proceeds transferred from
the Stanford Parties to the Cort Defendants because such payments constitute fraudulent transfers
under applicable law. The Stanford Parties made the payments to the Cort Defendants with

actual intent to hinder, delay, or defraud Stanford’s creditors; as a result, the Committee is

 

3 The Appendix in Support of this Complaint is referred to herein as the “Appendix” or by the abbreviation
“App.” The Appendix is incorporated by reference into this Complaint.

ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CORT & ASSOCIATES 9
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entitled to the disgorgement of those payments. Additionally, the Stanford Parties transferred the
funds to the Cort Defendants at a time when the Stanford Parties were insolvent, and the
Stanford Parties did not receive reasonably equivalent value in exchange for the transfers.

35. The Committee may avoid transfers made with the actual intent to hinder, delay,
or defraud creditors. “[T]ransfers made from a Ponzi scheme are presumptively made with
intent to defraud, because a Ponzi scheme is, as a matter of law, insolvent from inception.”
Quilling v. Schonsky, No. 07-10093, 2007 WL 2710703, at *2 (Sth Cir. Sept. 18, 2007); see also
Alguire, 2010 WL 5095506, at *9 (“[A] Ponzi scheme ‘is, as a matter of law, insolvent from its
inception.’”); Warfield v. Byron, 436 F.3d 551, 558 (5th Cir. 2006) (“. . . [the debtor] was a
Ponzi scheme, which is, as a matter of law, insolvent from its inception. ... [P]roof that [the
debtor] operated as a Ponzi scheme established the fraudulent intent behind transfers made by
{the debtor].”).

36. The Stanford Parties were running a Ponzi scheme and paid the Cort Defendants
with funds taken from unwitting SIB CD investors. The Committee is, therefore, entitled to
disgorgement of the CD Proceeds the Stanford Parties fraudulently transferred to the Cort
Defendants.

37. Consequently, the burden is on the Cort Defendants to establish an affirmative
defense, if any, of good faith and provision of reasonably equivalent value. See Case No. 3:09-
CV-0724-N, Doc. 456 at 13 (“A defendant invoking this defense has the burden to show doth
objective good faith and reasonable equivalence of consideration.”) (emphasis in original); see
also Scholes, 56 F.3d at 756-57 (“If the plaintiff proves fraudulent intent, the burden is on the
defendant to show that the fraud was harmless because the debtor’s assets were not depleted

even slightly.”). The Committee is, therefore, entitled to recover the full amount of the payments

ORIGINAL COMPLAINT AGAINST
CORT & CORT AND CORT & ASSOCIATES 10
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that the Cort Defendants received — either directly or indirectly —- unless they prove both
objective good faith and reasonably equivalent value.

38. The good-faith element of this affirmative defense requires that the Cort
Defendants prove objective, rather than subjective, good faith. See Warfield, 436 F.3d at
559-560 (good faith is determined under an “objectively knew or should have known” standard);
In re [FS Fin. Corp., Bankr. No. 02-39553, 2009 WL 2986928, at *15 (Bankr. §.D. Tex. Sept. 9,
2009) (objective standard is applied to determine good faith); Quilling v. Stark, No.
3-05-CV-1976-BD, 2007 WL 415351, at *3 (N.D. Tex. Feb. 7, 2007) (good faith “must be
analyzed under an objective, rather than a subjective, standard. The relevant inquiry is what the
transferee objectively knew or should have known instead of examining the transferee’s actual
knowledge from a subjective standpoint.”) {intemal citations and quotation marks omitted).

39. There is no evidence that the Cort Defendants provided any value — much less
reasonably equivalent value — in exchange for the fraudulent transfers they received. Moreover,
both this Court and the Fifth Circuit have held that providing services in furtherance of a Ponzi
scheme does not confer reasonably equivalent value. Warfield, 436 F.3d at 555, 560; Case No.
3:09-CV-0724-N, Doc. 456 at 13-14 (“[A]s a matter of law, services provided in the context of a
Ponzi scheme do not constitute ‘reasonably equivalent value.’”). Furthermore, consideration
which has no utility from the creditor’s perspective does not satisfy the statutory definition of
“value.” SEC v. Res. Dev. Int'l, LLC, 487 F.3d 295, 301 (Sth Cir. 2007); In re Hinsley, 201 F.3d
638, 644 (Sth Cir. 2000). The Cort Defendants cannot now claim that, in return for furthering
the Ponzi scheme and helping it endure, they should be entitled to keep the over $1.1 million in

CD Proceeds they received from the Stanford Parties. Because the Cort Defendants cannot meet

ORIGINAL COMPLAINT AGAINST
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their burden to establish that they provided reasonably equivalent value for the payments of CD
Proceeds to them, the Committee is entitled to the disgorgement of those funds.

40. Moreover, under applicable fraudulent-transfer law, the Committee is entitled to
attorneys’ fees and costs for its claims against the Cort Defendants. See, e.g., TEx. Bus. & CoM.
Cope ANN. § 24.013 (“[T]he court may award costs and reasonable attomey’s fees as are
equitable and just.”). As a result, the Committee requests reasonable attorneys’ fees and costs
for prosecuting its fraudulent-transfer claims against the Cort Defendants.

41. The Cort Defendants cannot meet their burden to establish that they provided
reasonably equivalent value for the CD Proceeds they directly or indirectly received from the
Stanford Parties and that they received such payments in good faith. Accordingly, the
Committee is entitled to the disgorgement of those funds.

42. In order to carry out its duties, the Committee seeks complete and exclusive
control, possession, and custody of the CD Proceeds received by the Cort Defendants for the
benefit of the Receivership Estate.

43. The Committee was only able to discover the fraudulent nature of the
above-referenced transfers after R. Allen Stanford and his accomplices were removed from
control of the Stanford entities and after reviewing documents relating to the Stanford entities.
Thus, the discovery rule and equitable tolling principles apply to any applicable limitations
period. See, e.g., Wing v. Kendrick, No, 08-CV-01002, 2009 WL 1362383, at *3 (D. Utah May
14, 2009); Quilling v. Cristell, No. 304CV252, 2006 WL 316981, at *6 (W.D.N.C. Feb. 29,
2006); see also TEx. Bus. & Comm. Cope ANN. § 24.010{a)(1) (claims may be brought either
within four years of the transfer or “within one year after the transfer or obligation was or could

reasonably have been discovered by the claimant”).

ORIGINAL COMPLAINT AGAINST
Cort & Cort AND CorT & ASSOCIATES 12
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44, The Stanford Parties, who orchestrated the Ponzi scheme, transferred the CD
Proceeds to the Cort Defendants with actual intent to hinder, delay, or defraud their creditors.
The Committee is, therefore, entitled to disgorgement of all CD Proceeds fraudulently
transferred to the Cort Defendants. Pursuant to the equity powers of this Court, the Committee
seeks an order that: (a) CD Proceeds received directly or indirectly by the Cort Defendants were
fraudulent transfers under applicable law; (b) CD Proceeds received directly or indirectly by the
Cort Defendants are property of the Receivership Estate held pursuant to a constructive trust for
the benefit of the Receivership Estate; (c) the Cort Defendants are liable to the Committee for an
amount equaling the amount of CD Proceeds they directly or indirectly received; and (d) awards
attorneys’ fees, costs, and interest to the Committee.

COUNT Hi: In the Alternative, the Commitice is Entitled to Disgorgement of CD

Proceeds from the Cort Defendants under the Doctrine of Unjust
Enrichment.

45. In the alternative, the Committee is entitled to disgorgement of the CD Proceeds
paid to the Cort Defendants pursuant to the doctrine of unjust enrichment under applicable law.
The Cort Defendants received funds that in equity and good conscience belong to the
Receivership Estate for ultimate distribution to the defrauded investors. The Cort Defendants
have been unjustly enriched by such funds, and it would be unconscionable for them to retain the
funds.

46. In order to carry out its duties, the Committee seeks complete and exclusive
control, possession, and custody of the CD Proceeds received by the Cort Defendants for the
benefit of the Receivership Estate.

47. The Cort Defendants have been unjustly enriched by their receipt of CD Proceeds
from the Stanford Parties. The Committee is, therefore, entitled to disgorgement of all CD

Proceeds the Cort Defendants received. Pursuant to the equity powers of this Court, the

ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CORT & ASSOCIATES

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Committee seeks an order that: (a} CD Proceeds received directly or indirectly by the Cort
Defendants unjustly enriched the Cort Defendants; (b) CD Proceeds received directly or
indirectly by the Cort Defendants are property of the Receivership Estate held pursuant to 2
constructive trust for the benefit of the Receivership Estate; (c) the Cort Defendants are liable to
the Committee for an amount equaling the amount of CD Proceeds they directly or indirectly
received; and (d) awards attomeys’ fees, costs, and interest to the Committee.
PRAYER

48. The Committee respectfully requests an Order providing that:

(a) CD Proceeds received directly or indirectly by the Cort Defendants were
fraudulent transfers under applicable law or, in the alternative, unjustly
enriched the Cort Defendants;

(b) CD Proceeds received directly or indirectly by the Cort Defendants are
property of the Receivership Estate;

(c) CD Proceeds received directly or indirectly by the Cort Defendants are
subject to a constructive trust for the benefit of the Receivership Estate;

(d) the Cort Defendants are liable to the Committee for an amount equaling the
amount of CD Proceeds they directly or indirectly received;

{e) The Committee is awarded attorneys’ fees, costs, and prejudgment and
post-judgment interest; and

(f} The Court grants such other and further relief as the Court deems proper

under the circumstances.

ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CorT & ASSOCIATES

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Dated: February 15, 2011

ORIGINAL COMPLAINT AGAINST

Cort & CORT AND CORT & ASSOCIATES

Respectfully submitted,

STRASBURGER & PRICE, LLP

By: /s/ Edward F. Valdespino

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CERTIFICATE OF SERVICE

On February 15, 2011, I electronically submitted the foregoing document with the clerk
of the court of the U.S. District Court, Norther District of Texas, using the electronic case filing
system of the Court. 1 hereby certify that I will serve Cort & Cort and Cort & Associates
individually or through their counsel of record, electronically, or by other means authorized by
the Court or the Federal Rules of Civil Procedure.

/s/ Edward F. Valdespino
Edward F. Valdespino

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ORIGINAL COMPLAINT AGAINST
Cort & CORT AND CORT & ASSOCIATES 16
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

THE OFFICIAL STANFORD INVESTORS

 

§
COMMITTEE, §
§
Plaintiff, §
§

v. § Case No.
§
CORT & CORT and §
CORT & ASSOCIATES, §
Defendants. §
§
§

APPENDIX IN SUPPORT OF
ORIGINAL COMPLAINT AGAINST
CORT & CORT AND

CORT & ASSOCIATES

 
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Dated: February 15, 2011

Respectfully submitted,

STRASBURGER & PRICE, LLP

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CERTIFICATE OF SERVICE

On February 15, 2011, I electronically submitted the foregoing document with the clerk
of the court of the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the Court. I hereby certify that I will serve Cort & Cort and Cort & Associates
individually or through their counsel of record, electronically, or by other means authorized by
the Court or the Federal Rules of Civil Procedure.

‘si Edward F. Valdespino
Edward F, Valdespino
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Payments to Cort & Cort and Cort & Associates:

   

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8/10/2006 | $ 75,000.00
8/18/2006 | $ 1,700.00
8/23/2006 | $ 1,046.00
9/1/2006 | $ 25,000.00
9/28/2006 | § 25,000.00
11/1/2006 | $ 25,000.00
12/1/2006 | $ 25,000.00
12/19/2006 | $ 25,000.00
1/5/2007 | $ 5,130.19
1/12/2007 | $ 25,000.00
1/19/2007 | $ 416.71
2/1/2007 | $ 25,000.00
2/16/2007 | $ 148.82
2/21/2007 | $ 148.82
3/1/2007 | $ 25,000.00
3/14/2007 | $ 133.45
3/30/2007 | $ 25,000.00
5/1/2007 | $ 25,000.00
6/1/2007 | $ 25,000.00
7/4/2007 | $ 25,000.00
8/1/2007 | $ 25,000.00
9/3/2007 | $ 25,000.00
10/1/2007 | $ 25,000.00
11/2/2007 | $ 25,000.00
12/4/2007 | $ 25,000.00
1/11/2008 | $ 185.52
1/31/2008 | $ 25,000.00
2/11/2008 | $ 25,000.00
3/10/2008 | $ 25,000.00
4/7/2008 | $ 25,000.00
5/8/2008 | $ 25,000.00
6/2/2008 | $ 25,000.00
7/9/2008 | $ 25,000.00
8/1/2608 | $ 225,361.02
8/7/2008 | $ 25,000.00
9/10/2008 | $ 1,222.22
9/15/2008 | $ 25,000.00
11/19/2008 | $ 25,000.00
11/21/2008 | $ 810.00
11/24/2008 | $ 25,000.00
12/4/2008 | $ 25,000.00

 
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12/17/2008 | $ 2,400.00
1/5/2009 | $ 25,000.00
2/4/2009 | $ 25,000.00
TOTAL $ 1,113,553.53

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